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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


INTERACTIVE GAMES LLC,                 )
                                       )
                 Plaintiff,            )
                                       )
vs.                                    )
                                       )
DRAFTKINGS, INC.,                      )   C.A. No. 19-1105 (RGA)
                                       )
                 Defendant.
                                       )
                                       )
                                       )




            INTERACTIVE GAMES, LLC’S ANSWERING BRIEF
 IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FOR A FAILURE TO
STATE A CLAIM PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
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I.     INTRODUCTION

       DraftKings asks this Court—at the pleadings stage—to invalidate the asserted claims of

the 8,956,231; 8,974,302; 9,430,901; and 8,616,967 patents as ineligible without offering any

evidence contradicting the allegations in the Complaint. Established Federal Circuit authority,

however, requires courts to take well-pled allegations as true and resolve all reasonable inferences

and factual conflicts in the plaintiff’s favor. The motion likewise ignores that factual disputes

underlying the eligibility analysis—such as whether a claim term constitutes an inventive

concept—preclude early dismissal. Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d

1121, 1126 (Fed. Cir. 2018). These shortcomings alone require that DraftKings’ motion be denied.

       DraftKings’ motion should also be denied on the merits, for it oversimplifies the claims

and disregards specific claim language. Contrary to DraftKings’ blanket statements, the claims do

not cover an “abstract idea” but instead are narrowly tailored to advancements in technology for

secure, remote mobile wagering to assure compliance with state regulations. More specifically, the

claims of the asserted patents require discrete compliance variables necessary for accurately and

reliably determining a user’s ability (or not) to wager on a mobile device in a given location. This

is not an abstract concept, nor was it routine or conventional at the time of the invention. Section

101 law has gone too far to find presumptively valid claims ineligible, and like here, DraftKings’

oversimplification of the asserted claims reaches such a high level of abstraction that its arguments

are untethered from the language of the claims themselves. Enfish, LLC v. Microsoft Corp., 822

F.3d 1327, 1337 (Fed. Cir. 2016).

II.    BACKGROUND

       IG asserted the ’231, ’302, ’901, and ’967 patents against DraftKings’ daily fantasy and

sports betting mobile platforms playable on mobile devices like iPhones, Androids, and tablets.

The claimed technology allows compliance with highly restrictive state wagering regulations, such
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as in New Jersey and Pennsylvania. D.I. 1 at ¶¶ 19-20. The claims of IG’s ’231 and ’302 patents,

for example, are directed to a secure authentication protocol that verifies the identity of the user,

the eligibility of the user’s device to participate in a gameplay, and the location of the user to

ensure jurisdictional compliance. Id. at ¶¶ 20-28. They also require adjusting the frequency of

location determination depending on where the user is with respect to the boundary of the area

where gameplay is permitted. Id. at ¶ 26. In that way, as a user approaches a boundary where

regulations change or gameplay is prohibited, more granular accuracy is achieved while also

conserving system resources when the user is not in proximity of a boundary.

       The ’901 and ’967 patents cover mobile gaming using location determination technology

in conjunction with enhanced security protocols. Id. at ¶ 31. These protocols ensure that users

originate and terminate wagering activity within the boundaries of the jurisdiction where wagering

is permitted. Id. at ¶ 32. The device location is detected by calculating and comparing specific

signal characteristics. Id. at ¶ 33. Simultaneously, the system uses a multi-layered authentication

protocol to authenticate the device, its user, and location. Id. at ¶ 34. These inventions, rooted in

computer technology, solve unique and highly technical problems associated with remote

wagering on mobile devices. They cannot be solved by the human mind. See id. at ¶¶ 21, 32.

III.   APPLICABLE LAW

       A.      Material Allegations Must Be Accepted as True

       Courts must accept as true all material factual allegations. Pac. Biosciences of Cal., Inc. v.

Oxford Nanopore Techs., Inc., No. 17-1353-LPS, 2018 WL 1419082, at *3 (D. Del. Mar. 22,

2018). Dismissal is only proper if, after “accepting all well-pleaded allegations in the complaint as

true, and viewing them in the light most favorable to plaintiff, plaintiff is not entitled to relief.”

Maio v. Aetna, Inc., 221 F.3d 472, 481–82 (3d Cir. 2000). The relevant inquiry is “whether the



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claimant is entitled to offer evidence to support the claims,” not whether the plaintiff will

ultimately prevail. In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1420 (3d Cir. 1997).

       Issued patents are entitled to a presumption of validity. 35 U.S.C. § 282(a); see also

Microsoft Corp. v. i4i Ltd. Partn., 564 U.S. 91, 96, 100 (2011). This presumption applies where

claims are challenged under § 101. CLS Bank Int’l v. Alice Corp. Pty. Ltd., 717 F.3d 1269, 1284,

1304-05 (Fed. Cir. 2013) (en banc), aff’d, 134 S. Ct. 2347 (2014); SkillSurvey, Inc. v. Checkster

LLC, 178 F. Supp. 3d 247, 255 (E.D. Pa. 2016), aff'd, 683 F. App’x 930 (Fed. Cir. 2017). Any fact

“pertinent to the invalidity conclusion must be proven by clear and convincing evidence.” Cellspin

Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1319 (Fed. Cir. 2019).

       B.      The “Abstract Idea” Exception to Patent Eligibility Is Narrow

       The three limited exceptions to the broad scope of subject matter eligibility for “laws of

nature, natural phenomena, and abstract ideas” are narrow because “all inventions . . . embody,

use, reflect, rest upon, or apply laws of nature, natural phenomena, or abstract ideas.” Alice Corp.

Pty. Ltd. v. CLS Bank Intern., 134 S. Ct. 2347, 2354 (quoting Mayo Collaborative Servs. v.

Prometheus Labs., Inc., 132 S. Ct. 1289, 1293 (2012)). Courts must be careful to avoid

oversimplifying the claims because it “all but ensures that the exceptions to § 101 swallow the

rule.” Enfish, 822 F.3d at 1337; see also In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 611

(Fed. Cir. 2016). Courts instead must consider claims individually, in their entirety, and in view

of the specification, to ascertain whether the character, as a whole, impermissibly preempts future

use of an abstract idea. See BASCOM Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d

1341, 1347-49 (Fed. Cir. 2016); Enfish, 822 F.3d at 1335.

       Under the Alice framework, step one is a “directed to” inquiry, which “applies a stage-one

filter to claims, considered in light of the specification, based on whether ‘their character as a

whole is directed to excluded subject matter.’” Enfish, 822 F.3d at 1335 (quoting Internet Patents
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Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed. Cir. 2015)). Alice step two is a separate

inquiry to determine whether the elements of the claim, both individually and as an ordered

combination, contain an inventive concept sufficient to transform an otherwise abstract idea into

a patent-eligible application. Alice, 134 S. Ct. at 2355. Claims directed to a “problem that does not

arise in the ‘brick and mortar context,’” but “particular to the Internet,” for example, indicate patent

eligibility, despite resting upon a potentially “abstract idea.” DDR Holdings, LLC v. Hotels.com,

L.P., 773 F.3d 1245, 1257–58 (Fed. Cir. 2014). The inventive concept inquiry is not, however, an

obviousness analysis under 35 U.S.C. § 103. BASCOM, 827 F.3d at 1350.

IV.     ARGUMENT

        A.      DraftKings’ Motion is Premature and Procedurally Defective

        While left unaddressed by DraftKings, this Court generally considers three threshold

factors before deciding a Rule 12(b)(6) motion on patent eligibility:

        (1) Are all non-representative claims adequately represented by the representative
        claim (i.e., do all of the challenged claims relate to the same abstract idea and do
        any of the non-representative claims add one or more inventive concepts . . . )?
        (2) Are there issues of claim construction that must be decided . . . ?
        (3) Is there any set of facts that could be proven relating to preemption, questions
        of patentability, or whether the claims “solve a technological problem,” that would
        result in a determination that one or more of the claims are patent-eligible?

Cronos Techs., LLC v. Expedia, Inc., No. 13-1538-LPS, 2015 WL 5234040, at *2 (D. Del. Sept.

8, 2015) (emphasis in original). The facts here, in view of these guiding factors, show that

DraftKings’s motion is premature and should be denied. DraftKings provides no justification for

filing a Rule 12(b)(6) motion other than merely alleging that “[w]hile the Court must accept well-

pleaded facts as true at this stage, that tenet is inapplicable to legal conclusions.” 1 D.I. 11 at 3. This


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  To the extent DraftKings suggests the asserted patents are invalid because other patents were
found ineligible in a prior dispute involving IG, it is wrong. That prior opinion on patents covering
geolocation technology for mobile gaming was found patent eligible, while other unrelated patents


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statement—and DraftKings’ motion—fails to acknowledge that numerous underlying factual

disputes, like here, cannot be resolved through a Rule 12 motion.

               1.      DraftKings Fails to Disprove the Factual Allegations

       Under Federal Circuit authority, “eligibility can be determined at the Rule 12(b)(6) stage .

. . only when there are no factual allegations that, taken as true, prevent resolving the eligibility

question as a matter of law.” Aatrix, 882 F.3d at 1125. In Aatrix, the Federal Circuit vacated

dismissal because the complaint contained concrete allegations “that individual elements and the

claimed combination are not well-understood, routine, or conventional activity,” and that the

claimed combination improved computer functionality. Id. at 1128. In view of this factual dispute,

the Federal Circuit held that it “could not conclude at the Rule 12(b)(6) stage that the claimed

elements were well-understood, routine, or conventional.” Id. at 1128–29; see also Berkheimer v.

HP, Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018).

       The same is true here. IG’s Complaint provides concrete allegations, based on the

specification and claim language of each patent, that the asserted claims embody concrete

technological solutions and inventive concepts that were not well-understood, routine, or

conventional. See D.I. 1 at ¶¶ 19-36. The Complaint alleges that the technological solutions

provided in the asserted claims, e.g., user and device verification and authorization for remote

gambling systems, are unconventional and inventive because they did not exist until the advent of

remote, network-based gaming using mobile devices and state-by-state mobile gaming regulations.

See id. at ¶¶ 21, 32. These detailed and well-supported allegations are true, and the claimed

inventions are thus directed to concrete, inventive concepts particular to the Internet and regulatory

compliance found in the mobile gaming industry. See DDR, 773 F.3d at 1257 (holding claims not


on gaming alone were not. CG Tech. Dev., LLC v. Bwin.Party (USA), Inc., No. 2:16-cv-00871-
RCJ-VCF, ECF No. 42 (D. Nev. Oct. 18, 2016).
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abstract because, “[a]lthough the claims address a business challenge (retaining website visitors),

it is a challenge particular to the Internet”). For example, the Complaint alleges that the claimed

systems and apparatuses in the ’231 and ’302 patents embody “a multisystem secure authentication

protocol to facilitate compliance with regulatory requirements.” 2 E.g., D.I. 1 at ¶ 20. The

Complaint also provides detailed steps involved in the multisystem secure authentication protocol

that confer an inventive concept. Id. at ¶¶ 21-30. Similar statements detailing the ’901 and ’967

patents are found in paragraphs 31-37 of the Complaint.

       These allegations raise more than just a reasonable expectation that discovery will reveal

evidence to support that the claimed elements are inventive. See Nalco Co. v. Chem-Mod, LLC,

883 F.3d 1337, 1350 (Fed. Cir. 2018) (“The plausibility standard ‘does not impose a probability

requirement at the pleadings stage; it simply calls for enough fact to raise a reasonable expectation

that discovery will reveal evidence’ to support the plaintiff's allegations.”). And this factual dispute

alone is enough to preclude dismissal, especially where DraftKings’ motion offers nothing to

contradict these specific allegations. See Search & Soc. Media Partners, LLC v. Facebook, Inc.,

346 F. Supp. 3d 626, 643 (D. Del. Sept. 28, 2018) (“Further factual development regarding just

how unconventional or innovative this application was . . . might impact the Section 101 inquiry.”);

MAZ Encryption Techs. LLC v. Blackberry Corp., No. 13-304-LPS, 2016 WL 5661981, at *6, *8

(D. Del. Sept. 29, 2016) (same).

               2.      The Claims Analyzed by DraftKings Are Not Representative

       DraftKings’ motion also fails to adequately analyze all the asserted claims. In a Rule


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  DraftKings argues that “no claim requires a ‘multisystem secure authentication protocol.’” D.I.
11 at 10. This is not true, and DraftKings’ argument only emphasizes the factual disputes here. For
example, claim 1 of the ’231 patent recites a multisystem secure authentication protocol and its
detailed steps including the authentication of a user, a device, and its location. Further, the
“multisystem secure authentication protocol” and its steps shown in Fig. 3 are described in detail
in the specification. See ’231, 40:64-45:49; ’302, 40:15-45:38.
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12(b)(6) motion challenging eligibility of multiple claims based on an analysis of a single

representative claim, a defendant must show that the analyzed claim adequately represents all other

“non-representative” claims. Cronos, 2015 WL 5234040, at *2. Indeed, this Court has denied

12(b)(6) motions when the alleged “representative” independent claim does not adequately

represent the remaining claims, including dependent claims that impart further inventive concepts.

Id. (denying motion to dismiss for failing to “provide at least some meaningful analysis for each

of the challenged claims”); JSDQ Mesh Techs. LLC v. Fluidmesh Networks, LLC, No. 16-cv-212-

GMS, 2016 WL 4639140, at *3 (D. Del. Sept. 6, 2016) (finding plaintiff “has sufficiently pled

allegations to create a factual dispute as to whether the non-representative claims add inventive

concepts that would result in patent eligibility”).

       Despite this requirement, DraftKings analyzed only a single claim from each patent without

addressing other claims or IG’s well-pled allegations. Even worse—and contrary to established

authority—DraftKings oversimplifies the claimed invention of claim 1 of the ’231 patent, reducing

it to the highest possible level of abstraction, i.e., “analyzing information.” D.I. 11 at 5; McRO,

Inc. v. Bandai Namco Games Am. Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016) (“[C]ourts ‘must be

careful to avoid oversimplifying the claims by looking at them generally and failing to account for

the specific requirements of the claims.’”). Then, while ignoring all other claim limitations,

DraftKings sweeps in all other limitations of the dependent claims into an oversimplified

characterization that they do not impart an inventive concept. See D.I. 11 at 4.

       This argument is not only contrary to the Federal Circuit precedent but is also technically

flawed. Dependent claims 8-11, for instance, are directed to adjusting the frequency of the

determining step in claim 1 based on the distance of a user from the boundary of the area in which

the user is permitted to engage in a gaming activity. See, e.g., D.I. 1 at ¶¶ 25-26. Claims 12-15



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recite requirements for how these steps are carried out. See id. Further, dependent claims 18-20

are directed to authorizing the device using hashing protocols and communication port

disablement. See id. at ¶¶ 27-28. Thus, the claimed inventions recited in these “non-representative”

claims go well beyond claim 1—they employ “a combined order of specific rules that renders

information into a specific format that is then used and applied to create desired results.” McRO,

837 F.3d at 1315. For similar reasons, at least dependent claims 8-13 are not adequately

represented by claim 1 of the ’302 patent.

       DraftKings likewise chooses claim 27 of the ’901 patent and claim 1 of the ’967 patent as

representative without explanation. See D.I. at 11, 17. Again, DraftKings offers nothing more than

attorney argument which oversimplifies the claimed invention and fails to analyze the remaining

independent and dependent claims with their many additional claim limitations. For example, at

least dependent claims 2 and 4 of the ’901 patent specify how to calculate “signal characteristics”

recited in claim 27, adding inventive concepts of the geolocation technology. Similarly, at least

dependent claims 3-6 of the ’967 patent add inventive concepts of using a timer based on the

geolocation information calculated according to claim 1. Because there is a factual dispute as to

whether the “representative claims” in the motion adequately represent other asserted claims (they

do not), DraftKings’ motion should be denied. See JSDQ Mesh, 2016 WL 4639140, at *3.

               3.      Claim Construction Cannot Be Resolved on a 12(b)(6) Motion

       While IG submits that the Court should not find the claimed inventions abstract in the first

instance, the Court should decide step 2 and thus, patent eligibility, only after discovery and claim

construction. Pac. Biosciences, 2018 WL 1419082, at *7 (holding that at the claim construction

stage, “the Court cannot say that [movant] has shown by clear and convincing evidence that the

claims do not capture an inventive concept.”). Recently, the Federal Circuit vacated the grant of a

Rule 12(c) motion on eligibility grounds because the district court did not construe a disputed
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claim term and the parties had not briefed their claim construction arguments. MyMail, Ltd. v.

ooVoo, LLC, 934 F.3d 1373, 1380 (Fed. Cir. 2019); see also Aatrix, 882 F.3d at 1125. Courts, in

fact, routinely deny Rule 12(b)(6) motions because they “cannot resolve the § 101 analysis before

gaining a full understanding of the claimed subject matter during claim construction.” Transport

Techs., LLC v. L.A. Cty. Metro. Transp. Auth., No. CV-15-6423-RSWL-MRWx, 2016 WL

7444679, at *6 (C.D. Cal. July 22, 2016); see also Guada Techs. LLC v. Vice Media, LLC, No. 17-

1503-RGA, 2018 WL 4441460, at *6 (D. Del. Sept. 17, 2018); T-Jat Sys. 2006, Ltd. v. Expedia,

Inc., No. 16-581-RGA, 2018 WL 1525496, at *7 (D. Del. Mar. 28, 2018).

       Here, the parties dispute the meaning of at least the claim term “determine” in the ’231 and

’302 patents, particularly in the “determine a period of time . . . based on a distance of the first

location from a boundary area” and “determining a location . . . by comparing . . . a set of signal

characteristics” phrases of the ’901 patent. 3 These claim construction disputes raise core

underlying factual issues: whether the claims constitute a non-abstract idea (under DraftKings’

interpretation) or inventive concepts (under IG’s). Indeed, DraftKings’ entire motion rests on its

interpretation that the claims amount to nothing more than “merely requir[ing] analyzing

information.” See D.I. 11 at 5. They require more, however, and DraftKings’ oversimplification

of the claims as a whole only myopically points to one portion of the specification for support,

while ignoring both the context of the claim terms as a whole and other portions of the

specification. See Nalco, 883 F.3d at 1350 (“It is not appropriate to resolve these disputes . . .

without the benefit of claim construction.”).

       Contrary to DraftKings’ oversimplification that “determine” means only “analyzing,” other



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  To properly construe the phrases that include “determine” as a claim limitation, the Court may
also have to construe at least the terms “signal characteristics” and “signal detection devices”
recited in claim 1 of the ’901 patent.
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claim limitations including, for example, “determine a period of time . . . based on a distance of

the first location from a boundary area” should be construed to mean that the algorithm for

calculating and adjusting the frequency of the authentication depends on the proximity of the user

to the boundary of the area where a gaming activity is allowed. See generally ’231, claims 1-21;

’302, claims 1-25. Likewise, “determining a location . . . by comparing . . . a set of signal

characteristics” requires an algorithm for calculating and pinpointing the location of a mobile

gaming device based on specific comparisons of the nature of wireless signal patterns, and not just

generically “analyzing,” as DraftKings asserts. Whether these claim elements viewed individually

or in combination were routine and conventional to a person skilled in the art is a question of fact

that should “preclude[] granting a motion to dismiss” here. Guada, 2018 WL 4441460, at *6-7.

       B.      The ’231 and ’302 Patent Claims Pass the Alice Patent Eligibility Inquiry

               1.      Step One: Claims on Secure Remote Authentication Are Not Directed
                       to Abstract Subject Matter and DraftKings Fails to Show Otherwise

       The ’231 and ’302 patents are not, as DraftKings argues, directed to an abstract idea. These

patented technological solutions instead address and overcome the challenges facing mobile

gaming operators in complying with regulations in different locations. Moreover, these challenges

were not encountered earlier with traditional, land-based gaming, but only emerged when mobile

devices allowed for remote gaming. D.I. 1 at 19. Far from routine or conventional, the ’231 and

’302 patented technology solved remote wagering challenges by leveraging multiple layers of

authentication protocols to authenticate the user, the user’s device, and its geolocation, thereby

ensuring that the mobile gaming experience remained legal, secure, and practical. ’231, 40:65-67.

                       a)     Multisystem secure authentication solves a technical problem

       Remote gaming saw additional hurdles based on regulatory compliance: gaming operators

had to ensure security and authenticity of users’ mobile device and that users did not circumvent


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regulatory controls. Id., 36:15-37:53, 37:20-35. The ’231 and ’302 patents address this by using a

“multisystem secure authentication protocol” to authorize the mobile device. Id., 40:65-67. In one

example, an authenticator service confirms that a unique identifier for the device is associated with

an authorized account or list of authorized devices. Id., 42:15-20, 45:10-15. The system can also

ensure that devices do not include software that enables otherwise prohibited access. It does so by

validating that certain external communication interfaces are disabled. Id., 39:45-62, 43:24-25.

       Claim 1 of the ’231 4 patent claims this improvement, the system “determine[s] that a device

is authorized to use a gaming service based on one or more characteristics of the device other than

location.” Id., 76:5-8. The dependent claims elaborate on that improvement. For example,

dependent claim 18 further recites the data structure for confirming the device does not have

software for spoofing a location by determining that communication ports of the device are

disabled before allowing access. See, id., 39:51-62. Dependent claims 19 and 20 cover how the

system verifies the authentication of the application by using multistage hashing protocols to send

application and operating system signatures to the device authenticator service. Id., 41:5-20. The

’302 patent, additionally, requires determining whether the operating system running on the user’s

mobile device is approved. ’302, 71:1-2. Claim 7, for example, reads memory locations and

compares files to ensure the device has not been “rooted” or modified. Id

                       b)      Location redetermination improves the computer system

       The asserted patents address additional challenges to secure mobile wagering by leveraging

geofencing, GPS, and triangulation techniques to create virtual perimeters of geographic areas that

allow or disallow gaming. ’231, 52:59-53:30. The claimed techniques in the ’231 patent enable

accurate determination of a user’s location using the mobile device as a proxy. Id., 36:64-66. This,


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  IG submits that claim 1 of the ’231 patent is not “representative” and refers to the ’231 patent
specification and claims only for purposes of rebutting DraftKings’ arguments here.
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however, is done while addressing that constant location determination strains system resources

and increases latency during peak usage. Id., 54:15-25. While some users may require location

determinations at a more constant rate, others may not. The claimed system minimizes the

requirement for constant surveillance at certain times thereby improving the efficiency and

performance of the computer system itself by minimizing redeterminations. Id., 54:15-50.

       Claim 1 of the ’231 patent recites determining “a location redetermination of the device”

based on a period of time that takes into account multiple factors. Dependent claims 8-17

emphasize these factors, including (1) the speed of travel, (2) direction of travel, and (3) distance

to a boundary, such as a state border, for improving the efficiency of the system. Far from abstract,

the claims are rooted in computer technology and recite improvements that definitively alter the

operation of traditional mobile gaming devices in a specific way to authenticate the user, the user’s

device, and the user’s location before providing remote access to remote gaming within a highly-

regulated industry. Enfish, 822 F.3d at 1335-1336.

                       c)      DraftKings’ alleged abstract idea can only be supported by
                               ignoring the claim language and specification

       In its attempt to minimize the claims of the ’231 and ’302 patents as covering nothing more

than “analyzing information,” DraftKings ignores the patents’ claim language, dependent claims,

and much of their disclosures. D.I. 11, 4. This approach not only takes the claim elements out of

context, but also disregards many elements all together. The result violates Alice’s requirement of

evaluating the claims as a whole and as an ordered combination. Alice, 134 S. Ct. at 2359. Indeed,

DraftKings cites only to discrete portions of the specification, while conveniently ignoring others,

to support an overly broad and erroneous approach to its Alice analysis. Compare, e.g., D.I. 11, 5

(citing the term “determining”), with 6 (alleging no details on how location determination is done).

This oversimplification is the “untethered” analysis that the Federal Circuit has cautioned against.


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Enfish, 822 F.3d at 1337. Moreover, this overgeneralization could very well be used to describe

all computerized methods because at some level all computer processors analyze data.

Characterizing the claims in this manner does no more than establish that the claims relate to

computer components and software. That, however, is insufficient to establish that claims are

directed to an abstract idea. See McRO, 837 F.3d 1299; DDR Holdings, 773 F.3d 1245.

       DraftKings attempts to analogize Front Row, but that case is distinguishable. First, the

conclusion that Front Row’s claims were directed to an abstract idea largely premised on the claims

“not amount[ing] to ‘improvements to computer-related technology’” and “not creat[ing] any

‘non-abstract’ software improvements, such as faster processing times or flexibility.” Front Row

Techs., LLC v. NBA Media Ventures, LLC, 204 F. Supp. 3d 1190, 1271 (D.N.M. 2016). But here,

the claimed location redetermination features improve the efficiency and performance of the

computer. Second, DraftKings’ position that the claims recite merely “a generic location-

determination step,” D.I. 11 at 6, again ignores the entirety of the claim, as well as other dependent

claims that include claim limitations requiring much more than a generic lookup.

       The claims here are much more like those found in Enfish—claiming an improvement that

by its nature changes the operation of a gaming device. 822 F.3d at 1335 (“make non-abstract

improvements to computer technology”). The claimed apparatuses vary the time between periodic

location checks based on these parameters. Id., 49:60-50:10, 54:62-67. This is not abstract, but

grounded in the technology for implementing legal, mobile wagering. The patented devices

function differently based on the determined user, device, and location attributes.

               2.      Step Two: The Claims Recite an Inventive Concept

       The claims are not directed to an ineligible concept; therefore, an “inventive concept”

analysis is not necessary. Enfish, 822 F.3d at 1339. Nevertheless, as is clear from the Complaint,

the claims contain an inventive concept based on a solution to the real-world need of ensuring
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adherence to jurisdictional regulations when gaming via mobile devices. See Iron Gate Security,

Inc. v. Lowe’s Cos., No. 15-cv-8814, 2016 WL 4146140, at *9 (S.D.N.Y Aug. 3, 2016) (“[T]he

objective of [step two] is to determine whether the claims provide a solution to a problem; it is not

intended to replace the requirements for validity.”). DraftKings flat-out ignores this by asserting

that the claims perform only generic location determination (which they do not) on a generic

computer (which they do not). D.I. 11 at 8-9.

       As mentioned above, and worth repeating here, at the time of invention in 2010, there was

a real-world need to authenticate users and their devices to ensure compliance with state

regulations. ’231, 40:64-41:17. The inventors responded to this by developing a system that

leverages multiple layers of authentication protocols to authenticate the user, the user’s device,

and its location. Id., 40:65-67. The claims recite a technical improvement to prior art systems by,

among other things, “determin[ing]that a device is authorized to use a gaming service based on

one or more characteristics of the device other than location,” “determin[ing] that a user of the

device is authorized to use the gaming service,” “determin[ing] that the device is associated with

a first location in which gaming activity is allowed,” and performing a “location redetermination

of the device . . . based on a distance of the first location from a boundary of an area.” ’231, claim

1. The specification supports the claimed inventions by not only describing these challenges but

also offering solutions to them. See, e.g., D.I. 1 at ¶¶ 20-29.

       Here, DraftKings’ motion has not proven any facts by clear and convincing evidence that

the ’231 and ’302 patents embody anything other than patent eligible inventive concepts when all

facts and inferences are drawn in IG’s favor. Berkheimer, 881 F.3d at 1368; see also Cellspin, 927

F.3d 1315 (“deciding whether claims recite an ‘inventive concept,’. . . may turn on underlying

‘question[s] of fact”). To the extent DraftKings argues that the novel technical solutions disclosed



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in the specification are not embodied in the claims, these arguments only confirm that DraftKings’

motion is inappropriate at this time. D.I. 11 at 10. 5

        C.      The ’901 Patent Claims Pass the Alice Patent Eligibility Inquiry

                1.      Step One: Location Determination Claims Are Not Directed to
                        Abstract Subject Matter and DraftKings Fails to Show Otherwise

        The ’901 patent addresses, not an abstract idea, but the technological challenges facing

pioneering mobile gaming operators in 2005. At that time, gaming operators were presented with

unique technical problems, because unlike traditional gaming, where “participants in casino-type

gambling activities must be present at a gaming machine or at a gaming table within the casino in

order to place a bet,” remote gaming did not require physical presence. ’901, 1:42-46. There were,

as now, “pre-defined area[s] in which gaming is permitted by law” and areas that were prohibited.

Id., 3:40-45. To ensure compliance, operators were concerned with determining the user’s location

with the accuracy necessary to comply with laws and regulations.

        The ’901 patent addressed these problems by using geolocation techniques and enabling

users to remotely engage in gaming activities in accordance with applicable laws. The patent

recognizes that with remote gaming, operators needed “to ensure that movement of the gaming

communication device to an unauthorized area is detected during play, and not just upon login or

initial access.” Id., 9:10-15. The patent solves this by ensuring that wagers originate and terminate

within boundaries of a competent jurisdiction. Id., 5:65-6:2, 7:45-50. For example, the patent

discloses a unique architecture for accurately detecting a device’s location with GPS, triangulation,

and geofencing techniques for selective geographic control. Id., 7:20-65. The system periodically

updates the location determination information to ensure constant compliance. Id., 9:9-15.



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  DraftKings’ categorization of the technical problems as “business problems” is misleading from
a legal standpoint and miscomprehends what drives technical innovation from a practical one.
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       The claims describe how the “location verification is accomplished” to “avoid the potential

for bets or wagers to be made outside Nevada state lines,” for example. Id., 7:35-50. They disclose

calculating signal characteristics between a calibration device and signal detection devices and

comparing the calculated signal characteristics with those received from a mobile device. Id.,

26:10-23. The dependent claims cover additional characteristics, including signal strengths (claim

2) and transmission times of signals (claim 4). See id., 24:17-27. Thus, far from abstract, the claims

disclose the specific structure of the novel system’s architecture for detecting the location of a

device covered by a communications network.

       DraftKings’ the-end-justifies-the-means approach ignores these core claim elements and

critical language to conclude with an “abstract idea.” The result is one that again violates Alice.

See 134 S. Ct. at 2359. This flawed analysis is shown below, which shows the swathes of claim

language (masked) that DraftKings set aside to manufacture its abstract idea argument:




’901, 26:9-28. Oversimplifying the claims into these “functional” steps is precisely the type of

“untethered” analysis the Federal Circuit has cautioned against. Enfish, 822 F.3d at 1337.

       DraftKings’ disregard of claim language, recited structures, and the specification provides

a biased lens through which all software patents can be reduced to abstract ideas. This

impermissible approach is the only basis for DraftKings to analogize to Content Extraction, D.I.

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11 at 11, which relates to claims disclosing extracting data, using a scanner, analyzing the data,

and storing it. In contrast, a proper reading of the ’901 patent claims, read in light of the

specification, shows they are similar to inventions found eligible. In Enfish, the Federal Circuit

recognized that “[s]oftware can make non-abstract improvements to computer technology just as

hardware improvements can.” 822 F.3d at 1335. The claims in Enfish were found to be “directed

to an improvement of an existing technology . . . bolstered by the specification’s teachings that the

claimed invention achieves other benefits over conventional” systems. Id. at 1336, 1337.

       Like Enfish, the claims of the ’901 patent cover a particular improvement to existing

location determination technology, providing a novel architecture for detecting a device’s location

by calculating signal characteristics between a calibration device and signal detection devices. This

allows these devices to operate remotely while addressing the regulatory hurdles. The performance

of the computer system itself is in turn improved by more accurately determining the location of

the “gaming communication device within a larger property, such as a casino complex.” ’901,

9:30-45. The device’s location “may be determined based upon the strength of the signal received

by each signal detection device 602 from the [gaming communication] device 604,” using, for

example, Received Signal Strength Indication values. Id., 10:29-38.

       Similarly, McRO cautioned against looking at the claims “generally and failing to account

for the specific requirements of the claims.” McRO, 837 F.3d at 1313. McRO focused on the

“specific means” used in a patent and recognized that there is little risk of preemption where

“specific structure[s]” are claimed. Id. at 1314, 1315. Here, the claims recite a calibration device

and signal detection devices for detecting a mobile device’s location by calculating signal

characteristics. The claims cover, not an abstract concept, but an improvement to the location

determination system itself. Like in McRO, not only is the nature of the recited structure far from



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abstract, but it also avoids the risk of preemption that is “[t]he concern underlying the exceptions

to § 101.” Id. at 1315.

               2.         Step Two: The Claims Also Recite an Inventive Concept

       The ’901 patent is not directed to a patent ineligible concept. Nevertheless, the claims also

contain an inventive concept based on jurisdictional compliance. DraftKings ignores this, and

argues the inventors “did not invent a new way of determining the location of a device…or a new

way of turning functionality on and off.” D.I. 11 at 14. DraftKings even alleges that the inventors

must have invented a new “signal-based location-detection technique” for an inventive concept to

exist. Id. In doing so, DraftKings improperly attacks the claims on an element-by-element basis to

describe each element as “conventional technology,” contrary to the law. Id. at 15. Indeed, “[t]he

inventive concept inquiry requires more than recognizing that each claim element, by itself, was

known in the art.” BASCOM, 827 F.3d at 1350.

       A proper Alice step-two inquiry reveals that the patented invention solved the problem of

accurately determining the location of a user’s mobile device to ensure compliance. ’901, 7:20-65.

The inventors responded to this need by creating a system that leverages geolocation techniques

to “enable[e]…a set of wagering activities through the mobile device” by comparing “calculated

sets of signal characteristics” between “a calibration device at the location and a set of signal

detection devices of the communication network” with a “set of signal characteristics measured

between the signal detection devices and the mobile device.” Id., 23:62-24:5. The claims thus

describe an inventive, unconventional concept in 2005. See, e.g., D.I. 1 at ¶¶ 31-34.

       D.      The ’967 Patent Claims Pass the Alice Patent Eligibility Inquiry

               1.         Step One: The Location Determination Claims are Not Directed to
                          Ineligible Subject Matter and DraftKings Fails to Show Otherwise

       The ’967 patent also recognizes that remote gaming “does not provide location verification


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suitable to ensure that a user is within an approved gaming area.” ’967, 1:40-44. The patent solves

these problems by using “a location verification or determination feature” to change and improve

the operation of a mobile gaming device “to permit or disallow gaming from the remote location

depending upon whether or not the location meets one or more criteria.” Id., 3:16-24. But it goes

a step further, tying the user’s wagering ability to both location and a time period that accounts

only for time during which the user was permitted to wager, and automatically disables the user’s

device based on these restrictions. Id., 20:55-21:6, 21:30-40. The claims recite an improvement

that alters the operation of traditional mobile devices.

       Claim 1, for example, is similar to those found eligible in SRI International, Inc. v. Cisco

Systems, Inc., 930 F.3d 1295, 1301 (Fed. Cir. 2019). SRI addressed a patent related to event

monitoring in a computer network and where the “claims were directed to more than an abstract

idea” because they did not “merely require[] a ‘computer network operating in its normal, expected

manner.’” Id. at 1304 (quoting DDR Holdings, 773 F.3d at 1258). SRI stressed that claims were

different in that they “actually prevent the normal, expected operation” of a conventional system.

Id. at 1304. As in SRI, the ’967 patent’s claims are specifically directed to ensuring that a mobile

gaming device may not simply operate “in its normal, expected manner.” Id. Instead, the device’s

location is used to permit or not permit the wagering based on location and automatically disables

the device when the user exceeds an allotted amount of time, while distinguishing between the

time spent within or outside permitted locations. This is contrary to the “normal, expected”

operation—it would have been counterintuitive in 2004 for a casino to limit a user’s wagering or

disable a gaming device after exceeding a time period.

       DraftKings again ignores both the claims and the specification of the ’967 patent to bolster

its oversimplification of the claims as “authorizing wager-based gaming on a device based on



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location and elapsed time” and comparing it to “a parent restricting a child’s screen time while at

home.” D.I. 11 at 16. This approach is the type of “untethered” analysis the Federal Circuit has

cautioned against. Enfish, 822 F.3d at 1337. While a parent at home could manually remove her

child’s device to restrict screen time, this analogy fails to take into account any of the actual

technical problems faced when the child’s device is remote and moving between permitted and

prohibited watching locations. See, e.g., ’967, 3:15-25, 10:31-50. Indeed, in 2004, gaming

operators needed to ensure that the device’s location was accurately determined such that the time

restrictions only applied when the device was used in permitted areas. Id., 20:59-21:6, 21:27-39.

Otherwise, the user’s movements in and out of approved gaming areas would be unaccounted for.

               2.     Step Two: The Claims Also Recite an Inventive Concept

       The Complaint details that prior art systems were not able to “provide location verification

suitable to ensure that a user is within an approved gaming area. ’967, 1:40-43. This shows an

inventive concept. And a proper step two inquiry reveals that the invention solved real-world

problems facing the industry in 2004, including how to ensure users remotely wagered only where

permitted, even after an initial determination that the activity was permitted, and accounting for

movements in and out of gaming areas. The claims of the patent recite a technical improvement to

prior art by accurately determining the user’s location and tying certain time restrictions to such

determinations. Id., 19:26-65. The claims also recite when and how to disable the user’s device,

by “incrementing the counter” only when the “gaming device is located back within the area in

which the user is permitted to engage” in the wagering activity (Id., 20:5-17) and “deactivat[ing]

the gaming device” by causing the “device to be inoperable.” Id., 21:30-39, 49-56.

V.     CONCLUSION

       For these reasons, IG requests that the Court deny DraftKings’ motion to dismiss.



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